UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

In re: §
§

EASTERN LIVESTOCK CO., LLC § Case No.: 10-93904-BHL-11
§

Debtor. §

MOTION TO APPEAR PRO HAC VICE

James B. Johnston of Easterwood, Boyd & Simmons, PC, moves the Court for an order
granting admission pro hac vice for the purpose of appearing as counsel on behalf of Eddie
Ficke/Eicke Ranch I] in the above-styled cause only. In support of this motion, the applicant
states:

1, The courts in which I am admitted to practice and the dates of admission are as
follows:

Courts Dates of Admission (month/year)
Texas Supreme Court May 1985
U.S. District Court, Northern District of Texas | March 1986

2. The applicant is not currently under suspension or subject to other disciplinary
action with respect to the practice of law.

3. The applicant has or will submit the $30.00 payable to the Clerk, United States
District Court, in payment of administrative fees required to process this motion
for admission pro hac vice.

4. Accompanying this motion is an affidavit, as required by $.D.Ind. L.R. B-9010-2.

WHEREFORE, the applicant requests this Court enter an order of admission pro hac vice for
purposes of this cause only.

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P. O. Box 273

Hereford, Texas 79045

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Counsel for Eddie Eicke/Eicke Ranch II

2 men R92 To

Jathes B. Johnston
Texas State Bar No. 10838200

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CERTIFICATE OF SERVICE

I hereby certify that on January 4, 2011 a copy of the foregoing Motion to Appear Pro Hac Vice
was filed electronically. Notice of this filing will be sent to the following parties through the
Court’s Electronic Case Filing System. Parties may access this filing through the Court’s system:

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I further certify that on December 31, 2010, a copy of the foregoing Motion to Appear Pro Hac
Vice was mailed by first-class U.S. Mail, postage prepaid and properly addressed, to the
following:

Eastern Livestock Co., LLC
135 W. Market Street
New Albany, IN 47150

Kentucky Cattlemen’s Association
176 Pasadena Drive
Lexington, KY 40503-2900.
Case 10-93904-BHL-11 Doc131 Filed 01/04/11 EOD 01/04/11 11:50:34 Pg3of3

National Cattlemen’s Beef Association
c/o Alice Devine

6031 SW 37" St.
Topeka, Kansas 66610

ims CL AG

James B. Johnston .

